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 Counsel for Defendants

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                      TRENTON VICINAGE

 --------------------------------------------------------  x
 RYAN BUTTON, on behalf of himself and                     :
 those similarly situated,                                 :
                                                           :    Case No.: 3:22-cv-07028 (MAS)(RLS)
                   Plaintiff,                              :
                                                           :
          v.                                               :    STEVEN SUNDERLAND RULE 7.1
                                                           :    DISCLOSURE STATEMENT
 DOLLAR GENERAL CORPORATION,                               :
 DOLGENCORP, LLC d/b/a DOLLAR                              :
 GENERAL, TODD VASOS, JEFF OWEN,                           :
 STEVE SUNDERLAND, EMILY TAYLOR,                           :
 and JOHN DOES 1-500, individually, jointly,               :
 severally, or in the alternative,                         :
                                                           :
                   Defendants.                             :
                                                           :
 --------------------------------------------------------- x

        Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Steven Sunderland states:

Mr. Sunderland is a citizen of Tennessee.

Dated: December 20, 2022                             Respectfully Submitted,
       New York, New York                            MCGUIREWOODS LLP

                                                     /s/ Philip A. Goldstein
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                                                            1
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 20, 2022, I caused a copy of the foregoing Rule

7.1 Corporate Disclosure Statement to be electronically filed with the Clerk of the Court using the

Court’s CM/ECF system, which will transmit a notice of electronic filing to all counsel of record

in this action.

                                             s/ Philip A. Goldstein
                                             Philip A. Goldstein
